                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

UNITED STATES OF AMERICA                            )
                     Plaintiff,                     )
                                                    )
               v.                                   )      CASE NO. DNCW3:01CR85-3
                                                    )      (Financial Litigation Unit)
TYRONE BERNARD JENNINGS,                            )
                    Defendant.                      )
                                                    )
and                                                 )
                                                    )
RAINTREE HEALTHCARE,                                )
               Garnishee.                           )


               DISMISSAL OF WRIT OF CONTINUING GARNISHMENT

        Upon motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Writ of Continuing Garnishment filed in this case against Defendant Tyrone

Bernard Jennings is DISMISSED.


                                                Signed: June 25, 2012




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